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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-2680


   ROCKY MOUNTAIN GUN OWNERS,
   NATIONAL ASSOCIATION FOR GUN RIGHTS,
   CHARLES BRADLEY WALKER,
   BRYAN LAFONTE,
   CRAIG WRIGHT, and
   GORDON MADONNA,
   JAMES MICHAEL JONES, and
   MARTIN CARTER KEHOE,

          Plaintiffs,

   v.

   THE TOWN OF SUPERIOR,
   CITY OF LOUISVILLE, COLORADO,
   CITY OF BOULDER, COLORADO, and
   BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,



          Defendants.

   ________________________________________________________________________

                        PLAINTIFFS’ INITIAL DISCLOSURES
   ________________________________________________________________________

          Plaintiffs submit the following initial disclosures pursuant to Fed.R.Civ.P. 26(a)(1)(A):

   1. The name and, if known, the address and telephone number of each individual likely to have
   discoverable information--along with the subjects of that information--that the disclosing party
   may use to support its claims or defenses, unless the use would be solely for impeachment.

          1.      Charles Bradley Walker, c/o Plaintiffs’ counsel. Mr. Walker will have

   information regarding his desire to exercise his Second Amendment rights and how Superior’s

   ordinance infringes on those rights.




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          2.       Bryan LaFonte, c/o Plaintiffs’ counsel. Mr. LaFonte will have information

   regarding his desire to exercise his Second Amendment rights and how Louisville’s ordinance

   infringes on those rights.

          3.       Craig Wright, c/o Plaintiffs’ counsel. Mr. Wright will have information regarding

   his desire to exercise his Second Amendment rights and how Louisville’s ordinance infringes on

   those rights.

          4.       Gordon Madonna, c/o Plaintiffs’ counsel. Mr. Madonna will have information

   regarding his desire to exercise his Second Amendment rights and how Louisville’s ordinance

   infringes on those rights.

          5.       James Michael Jones, c/o Plaintiffs’ counsel. Mr. Jones will have information

   regarding his desire to exercise his Second Amendment rights and how the City of Boulder’s

   ordinance infringes on those rights.

          6.       Martin Carter Kehoe, c/o Plaintiffs’ counsel. Mr. Kehoe will have information

   regarding his desire to exercise his Second Amendment rights and how Boulder County’s

   ordinance infringes on those rights.

          7.       A representative of the Rocky Mountain Gun Owners, c/o Plaintiffs’ counsel. A

   representative of RMGO will have information regarding its members’ desire to exercise their

   Second Amendment rights and how the municipalities’ ordinances infringe on those rights.

          8.       A representative of the National Association for Gun Rights, Inc., c/o Plaintiffs’

   counsel. A representative of NAGR will have information regarding its members’ desire to

   exercise their Second Amendment rights and how the municipalities’ ordinances infringe on

   those rights.




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          9.      All persons who submit declarations and/or affidavits in this case concerning the

   subject matter of such declarations/affidavits.

          10.     Any person necessary for impeachment or rebuttal.

          11.     Any person disclosed by any other party.

          12.     Any persons necessary to authenticate or lay the foundation for any exhibit.

   2. A copy--or a description by category and location--of all documents, electronically stored
   information, and tangible things that the disclosing party has in its possession, custody, or
   control and may use to support its claims or defenses, unless the use would be solely for
   impeachment.

          1. Any document attached or referred to in any pleading.

          2. Any document necessary for impeachment and/or rebuttal.

          3. Any document disclosed by any other party.

   3. A computation of each category of damages claimed by the disclosing party--who must also
   make available for inspection and copying as under Rule 34 the documents or other evidentiary
   material, unless privileged or protected from disclosure, on which each computation is based,
   including materials bearing on the nature and extent of injuries suffered

          Plaintiffs Rocky Mountain Gun Owners and National Association for Gun Rights do not

   seek damages on behalf of their members. The individual Plaintiffs’ damages have been

   mitigated somewhat by the fact that the ordinances were effective for only a few weeks before

   they were stayed in this action. However, the individual Plaintiffs reserve the right to assert

   additional damages if the stays in this matter are lifted. In addition, at a minimum, the individual

   Plaintiffs will seek nominal damages.

   4. For inspection and copying as under Rule 34, any insurance agreement under which an
   insurance business may be liable to satisfy all or part of a possible judgment in the action or to
   indemnify or reimburse for payments made to satisfy the judgment.

          N/A




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   /s/ Barry K. Arrington
   _______________________
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   E-mail: shaun@pearmanlawfirm.com

   Attorneys for Plaintiffs

                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 15, 2015, I emailed the foregoing to counsel for
   Defendant at:

   Careydunne1@gmail.com
   gvaughan@vaughandemuro.com
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   /s/ Barry K. Arrington
   _______________________
   Barry K. Arrington




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